                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         GREENSBORO DIVISION


JENNIFER OLDHAM,                           :
             Plaintiff                     :              Case No.
                                           :
v.                                         :
                                           :
UNIVERSITY OF NORTH CAROLINA;              :
LAWRENCE R. CUNNINGHAM, Individually :
and as Agent for UNC; LORENZO GALLO, JR., :
Individually and as Agent for UNC; RONALD  :
MILLER, Individually and as Agent for UNC, :
                   Defendants.             :              Electronically Filed



                                  COMPLAINT

      This case conjures up an image of a dark, private, back room in an exclusive

club or fraternity where secret discussions are had to do something dishonorable and

wrong. Blackballing is always accomplished in a secret or covert manner.

Blackballing is always dishonorable and always wrong. In this instance it was also

unlawful, causing Jennifer Oldham substantial harm and damage.

      Defendants University of North Carolina1, Cunningham, Gallo, and Miller

unlawfully discriminated against and blackballed Oldham from employment with



      1
            The University of North Carolina System’s flagship campus is in
Chapel Hill, North Carolina. Unless otherwise noted, “UNC” herein refers to the
UNC-Chapel Hill campus.
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the UNC athletics department in retaliation for her lawful participation in protected

activities; and engaged in discriminatory, defamatory, and retaliatory acts related to

Oldham as a female victim of sexual harassment, an investigation complainant, and

as a UNC whistleblower, to her significant personal and professional detriment.

      Plaintiff Jennifer Oldham, by and through her attorneys, based upon

knowledge of her own acts and upon information and belief as to the acts of others,

respectfully alleges as follows:



                             JURISDICTION AND VENUE

      1.     Oldham brings this action to seek redress for discrimination and

retaliation based on gender and/or sex by the Defendants, pursuant to Title IX of the

Education Amendments of 1972, 20 U.S.C. § 1681(a) (1972). Accordingly, Oldham

invokes this Court’s federal question jurisdiction conferred by 28 U.S.C. § 1331,

which gives district courts original jurisdiction over all civil actions arising under

the Constitution, laws, and treaties of the United States.

      2.     Oldham also brings this action to seek redress for employment

discrimination by the Defendants based on her sex, and for retaliation against her for

engaging in protected activities, to wit, reporting one or more instances of sexual

harassment and discrimination, pursuant to Title VII of the Civil Rights Act of 1964,

42 U.S.C. § 2000e et seq. (1964). Accordingly, Oldham invokes this Court’s federal


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question jurisdiction conferred by 28 U.S.C. § 1331, which gives district courts

original jurisdiction over all civil actions arising under the Constitution, laws, and

treaties of the United States.

      3.     Because this Court has jurisdiction to address the controversy before it,

28 U.S.C. § 2201 grants the Court authority to declare the rights of the parties before

it, and 28 U.S.C. § 2202 authorizes the Court to grant such further relief, including

injunctive relief, as the Court may deem necessary and proper.

      4.     Plaintiff also states causes of action under the laws of the State of North

Carolina because the Defendants have violated rights secured thereunder. Oldham’s

state claims include invasion of privacy (offensive intrusion), defamation, negligent

infliction of emotional distress, civil conspiracy, negligent training and supervision,

negligence, and gross negligence. Those causes of action are so related to the federal

claims in this case, over which this Court has original jurisdiction, that they form a

part of the same case or controversy under Article III of the United States

Constitution. Accordingly, this Court has supplemental jurisdiction over those

claims pursuant to 28 U.S.C. § 1367.

      5.     Defendant UNC is a legal entity organized and operating primarily in

Orange County, North Carolina.

      6.     Defendants Cunningham is, upon information and belief, a resident of

Orange County, North Carolina.


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      7.     Defendant Gallo is, upon information and belief, a resident of Chatham

County, North Carolina.

      8.     Defendant Miller is, upon information and belief, a resident of Wake

County, North Carolina.

      9.     Plaintiff Oldham is a resident of Durham County, North Carolina.

      10.    Venue is proper in the Middle District of North Carolina pursuant to 28

U.S.C. § 1391(b)(2), in that a substantial part of the events, acts, or omissions giving

rise to Oldham’s action occurred in Orange County, North Carolina.



                                      PARTIES

      11.    Plaintiff Jennifer Oldham is the female owner and head coach of Forge

Fencing Teams, a private fencing club and state-of-the-art training facility in

Durham, Durham County, North Carolina. Oldham is a 1996 UNC graduate, a 1993-

96 UNC varsity women’s fencing team member coached by Defendant Miller, and

a former volunteer assistant fencing coach at UNC. Oldham has fenced

competitively nationally and internationally, is an accomplished and acclaimed

professional fencing coach and referee nationally and internationally, and is certified

as a Maitre d’Armes (M. d’A) by the Academie D’Armes Internationale. At all

relevant times herein, Oldham was an applicant for employment at UNC.




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      12.    Defendant UNC is the flagship campus of the University of North

Carolina System’s 16-campus state-run public university system, located in Chapel

Hill, Orange County, North Carolina.

      13.    Defendant Lawrence J. “Bubba” Cunningham was hired as UNC’s

Chief Athletics Administrator in 2011 and was at all relevant times herein UNC’s

Athletic Director, classified by UNC as a responsible employee2. Cunningham’s

duties included administrative and operational oversight of all athletes, athletics

staff, and NCAA Division I team sports activities and compliance at UNC.

      14.    Defendant Lorenzo “Larry” Gallo, Jr. was hired by UNC in 1997, and

was at all relevant times herein UNC’s Deputy Chief Athletics Officer or Executive

Associate Athletics Director, reporting to Cunningham, and classified by UNC as a

responsible employee. Gallo’s Executive Associate Athletics Director duties

included overseeing the hiring of coaching staff in the fencing program in 2018.

      15.    Defendant Ronald Miller was at all relevant times herein, the Head

Coach of UNC’s fencing program, reporting to Cunningham, and classified by UNC

as a responsible employee. Miller had been employed by UNC since 1967. His head


      2     UNC “responsible employees” are those with administrative or
supervisory responsibilities on campus or who have been designated as Campus
Security Authorities. This includes members of the Board of Trustees, the
Chancellor, Vice Chancellors, Deans, Directors, Department Chairs, and Coaches.
See Policy on the Prohibition of Discrimination, Harassment and Related
Misconduct (“PPDHRM”), Sec. VIII.A.
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coaching duties included administration and development, athlete recruitment and

training, and supervision of assistant coaches and trainers.



                        APPLICABLE LAW AND POLICY

      16.      Title IX of the Education Amendments of 1972 (“Title IX”), 20 U.S.C.

§ 1681(a), states in relevant part: “No person in the United States shall, on the basis

of sex, be excluded from participation in, be denied the benefit of, or be subjected to

discrimination under any education program or activity receiving Federal financial

assistance.”

      17.      Title IX is implemented through the Code of Federal Regulations. See

34 C.F.R. Part 106.

      18.      “Title IX contains an implied private right of action permitting

aggrieved parties to sue educational institutions for alleged violations. Cannon v.

Univ. of Chi., 441 U.S. 677, 713 (1979).” Davis v. Univ. of N.C. at Greensboro

(M.D.N.C. 2020).

      19.      While North Carolina's three-year statute of limitations generally

governs Plaintiff's claims, federal law determines when her federal law claims

accrued. Discrimination claims accrue “when the plaintiff possesses sufficient facts

about the harm done to him that reasonable inquiry will reveal his cause of action.”

Nasim v. Warden, Md. House of Corr., 64 F.3d 951, 955 (4th Cir. 1995) (en banc)


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(citing United States v. Kubrick, 444 U.S. 111, 122-24 (1979)). See also McCarter

v. The Univ. of N. Carolina At Chapel Hill (M.D.N.C. 2021).

      20.    “When there is a ‘continuing course of racially discriminatory conduct,

the date of the last discriminatory act determines a suit's timeliness.’ Bradley v.

Carydale Enters., 707 F.Supp. 217, 220 (E.D. Va. 1989) (internal quotations

omitted) (citing Havens Realty Corp. v. Coleman, 455 U.S. 363, 381-82 (1982)).”

See also McCarter v. The Univ. of N. Carolina At Chapel Hill (M.D.N.C. 2021).

      21.    “[T]o establish a continuing violation … the plaintiff must establish that

the unconstitutional or illegal act was a … fixed and continuing practice.” Nat'l

Advert. Co., 947 F.2d at 1166. A fixed and continuing practice exists where “the

same alleged violation” is repeated by the same actor in “a series of separate acts.”

Id. at 1167 (quoting Perez v. Laredo Junior Col., 706 F.2d 731, 733 (5th Cir. 1983)).

See also McCarter v. The Univ. of N. Carolina At Chapel Hill (M.D.N.C. 2021).

      22.    Two acts may be the same “violation” of federal discrimination laws

even where the facts giving rise to the violation are quite different. See, e.g., Bradley,

707 F.Supp. at 219, 221 (finding a landlord's refusal to intervene to protect a tenant

from racial harassment and subsequent effort to force her to vacate her home were a

single violation of Title VI). See also McCarter v. The Univ. of N. Carolina At

Chapel Hill (M.D.N.C. 2021).




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      23.      Courts consider two factors to determine whether an act was a fixed and

continuing practice, including “(1) the harm to the plaintiff and whether that harm

has been compounded by further governmental actions and (2) whether unfairness

results from finding the continuing wrong exception inapplicable.” Miller v. King

George Cty., 277 Fed.Appx. 297, 299 (4th Cir. 2008); see Nat'l Advert. Co., 947

F.2d at 1167-68. “It is continual unlawful acts, not continual ill effects from an

original violation, that constitutes a continuing course of racially discriminatory

conduct.” A Soc’y Without A Name, 655 F.3d at 348. See also McCarter v. The Univ.

of N. Carolina At Chapel Hill (M.D.N.C. 2021).



               FACTS COMMON TO ALL CLAIMS FOR RELIEF

      24.      On a December 2017, commercial airline flight, while returning from a

national fencing tournament, Penn State assistant fencing coach George Abashidze

thrust his hand between Jennifer Oldham’s legs and grabbed her genitalia without

her consent.

      25.      Penn State head fencing coach Wieslaw Glon learned of Oldham’s

sexual assault by Abashidze in January 2018. Glon failed to report it to Penn State

or the United states Center for SafeSport3 as required and used his prominent stature


      3
       SafeSport is a 501(c)(3) created by the “Protecting Young Victims from
Sexual Abuse and Safe Sport Authorization Act of 2017.” The Act authorized
SafeSport as a quasi-judicial entity to create and enforce policies and procedures,
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in the fencing community to harass Oldham over a period of several months trying

to intimidate her so she would not cooperate with the SafeSport investigation and

not file complaints with Penn State about Abashidze’s assault.

      26.    An individual who had witnessed Abashidze’s harassment of Oldham

on the plane reported the incident to SafeSport in January 2018.

      27.    In February 2018, Glon communicated with Defendant Miller and

asked him “is there anything you can do about Jennifer?”

      28.    Glon continued to harass and intimidate Oldham and in February 2018

told her that no one would believe that Abashidze had sexually assaulted her, that

Abashidze was a nice guy and would never assault anyone, and that she would be

publicly embarrassed if assault details became known.

      29.    Between January and May 2018, Glon communicated with his friend

Miller telling him that he did not believe Oldham’s claim, that Abashidze was a nice

guy and would never assault anyone, and that he was concerned about the SafeSport

investigation and its potential grave consequences for Abashidze.




and to develop training to prevent and respond to sexual, physical, and emotional
abuse and misconduct for more than 11 million individuals in the United States
Olympic and Paralympic Sports Movement, including those who are associated with
USA Fencing and participate in the sport of fencing. See:
https://uscenterforsafesport.org/ (last retrieved June 27, 2022).
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      30.     In April 2018, at a tournament at Duke University, Glon told Oldham

he would not report her claim of sexual assault by Penn State’s assistant fencing

coach to the administration at Penn State.



May 2018: UNC Head Fencing Coach Position Search

      31.     Defendant Miller announced his plan to retire as head fencing coach at

the end of the 2018 season, after 51 years at UNC.

      32.     Between May and August of 2018, Glon communicated with Miller,

sharing his continued disbelief in the details of Oldham’s sexual assault claim, and

his concerns about the potential grave consequences for Abashidze of SafeSport’s

decision and Penn State’s Title IX outcome.

      33.     On May 2, 2018, the head fencing coach position was posted on UNC’s

employment website.

      34.     Oldham applied for UNC’s head fencing coach position, submitting her

curriculum vitae and a number of recommendation letters from fencing professionals

including Peter Burchard, now President-elect of USA Fencing.

      35.     On 4 June 2018, Oldham was interviewed with other finalists for the

head coach position by a hiring panel assembled by Gallo.




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      36.     Miller discussed Oldham’s application with Gallo and/or Cunningham

and told one or both of them about her claim that Abashidze had sexually assaulted

her and the SafeSport investigation.

      37.     Between 28 June and 2 July 2018, Miller spoke with Peter Burchard at

the 2018 USA Fencing National Championships and told Burchard that Oldham

“would never get the job” at UNC.

      38.     On 30 June 2018, Oldham’s husband reported her sexual assault to

Penn State’s Athletics Director, confirmed that Penn State had not previously heard

about the assault, and a Title IX investigation was begun.

      39.     On August 1, 2018, SafeSport issued a report finding Abashidze

responsible for Oldham’s sexual assault. Abashidze was suspended from association

with USA Fencing-sanctioned events and affiliates and as a result he was terminated

by Penn State.

      40.     In August 2018, Penn State’s investigation of Oldham’s claim

concluded that Abashidze had sexually assaulted Oldham – and yet inexplicably

determined that he had not violated any Penn State policies.

      41.     On or about August 14, 2018, Cunningham was prepared to announce

that Joshua Webb, a male UNC fencing alumnus and an assistant coach who had

been with the program for several years, would be hired as UNC’s new head coach.




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      42.     On or around August 14, 2018, Cunningham received a phone call with

UNC whistleblower4 information suggesting he ask Webb if he had engaged in

possible wrongful conduct of a sexual nature with a student-athlete while employed

by UNC.

      43.     Cunningham and/or Gallo and/or Miller met with Webb and asked if he

had engaged in possible wrongful conduct of a sexual nature with a student-athlete

while employed by UNC.

      44.     Webb admitted to Cunningham and/or Gallo and/or Miller that he had

engaged in possible wrongful conduct of a sexual nature with a student-athlete while

employed by UNC.

      45.     On or around August 15, 2018, Cunningham participated in one or more

phone calls to gain additional information about what he referred to as the

whistleblower’s “end game.”

      46.     On or around August 15, 2018, UNC’s offer to hire Webb as the new

head fencing coach was rescinded and his employment as an assistant coach was

terminated.



      4
              UNC’s “Whistleblower Policy” became effective on 31 July 31, and
protects whistleblowers including employment applicants from adverse employment
actions at UNC. The policy is independent of any North Carolina or federal law. See
https://policies.unc.edu/TDClient/2833/Portal/KB/ArticleDet?ID=131868          (last
retrieved on June 27, 2022).

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      47.      Oldham was told on 15 September 2021, that in August 2018, no

information regarding Webb’s possible sexual misconduct was reported to UNC’s

Equal Opportunity and Compliance office (“EOC”) staff, as federal law and multiple

UNC policies required of Cunningham, Gallo, and Miller as responsible employees.

      48.      On 23 August 2018, at 5:39 p.m., Oldham received an email with

“07/27/2016 11:54 AM” at the top of the body of the email, from no_reply@unc.edu,

notifying her that she was no longer being considered for an assistant fencing coach

position she had applied for in 2016, a position that had been held by Will Randolph,

a male UNC fencing alumnus, since 2016.

      49.      On August 27, 2018, Miller told Oldham in an email that everyone who

had applied for the head coach position in May would “automatically be re-

considered.”

      50.      In late August 2018, Miller shared details of the questioning of Webb,

along with his speculation that Oldham was the whistleblower and the cause of

Webb’s professional downfall, with others in the fencing community.

               a. On or about August 29, 2018, in Chapel Hill, North Carolina, Miller

                  shared information with his spouse, Susun Miller, that she then

                  published in a self-described “rant” visible to over 1,100 of Ron

                  Miller’s Facebook friends about “folks who sabotage” jobs,

                  referencing the “devious” “two-faces” of those “who play the role



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     of ‘poor me’ victim” and threatening that the unnamed saboteur

     would face “a judge and jury.”

  b. In approximately September 2018, at UNC, Miller spoke with UNC

     volunteer assistant coach Jim Murray about Webb’s termination.

     Murray then spoke with a USA Fencing board member Don

     Alperstein in January 2019 at a North American Cup fencing

     tournament in Charlotte, North Carolina and told him: “they sat

     [Webb] in a room, asked if he’d slept with an athlete and said thank

     you very much, and that was it.”

  c. Miller told the SafeSport investigator that in approximately October

     2018, Miller spoke about Oldham with “15 to 20 people” at an NAC

     event in Milwaukee and inferred a nefarious connection between

     Oldham wanting the head coach job and his position that “[the

     whistleblower] could have been her but there’s no way to know.”

  d. Also in approximately October 2018, Miller told Peter Burchard,

     then President of the United States Coaching Association, that

     Oldham was “fumbling with [his] coaching line-up.”




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September 2018: UNC Head Fencing Coach Position Search

      51.     In September 2018, the head fencing coach position was re-posted on

UNC’s employment website.

      52.     Miller planned to remain as UNC’s head coach through the end of the

2018-19 season.

      53.     On 6 September 2018, Oldham submitted an updated curriculum vitae

that included her most recent professional accolades and formally re-applied online

for the head coach position.

      54.     Oldham received no acknowledgment or response from UNC to her

September formal application for the head coach position.

      55.     In September 2018, Gallo discussed the hiring process with then-UNC

head coach position candidate Ariana Klinkov, now the head coach at Cornell. Gallo

told Klinkov that she would not be hired despite her excellent qualifications and

offered to write a letter of recommendation for her for the head coach position at the

Air Force Academy. Gallo shared with Klinkov that she would not be hired because

the internal plan was that UNC would only consider hiring a male UNC fencing

alumnus as head coach.

      56.     In April 2019, Matt Jednak, a male UNC fencing alumnus, was

announced as the new head fencing coach.




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September 2018: UNC Assistant Fencing Coach Position Search

      57.     In September 2018, a job opening for the assistant fencing coach

position previously held by Webb was posted on UNC’s employment website.

      58.     On or about 5 September 2018, Oldham submitted a curriculum vitae

that included her most recent professional accolades and formally applied online for

the assistant coach position.

      59.     In September 2018, believing she was being considered for the open

head coach and assistant coach positions, Oldham asked Miller if she could observe

and/or assist with team practices. Miller declined her requests.

      60.     On 21 February 2019, Oldham received an email from UNC telling her

the assistant coach position she had applied for had been “cancelled.”



26 June 2019: Defendant Miller’s SafeSport Interview Statements

      61.     In April 2019, Oldham requested that SafeSport and Penn State conduct

investigations into Glon’s failure to report his knowledge of Oldham’s assault as

their respective policies required.

      62.     On 16 August 2021, SafeSport gave Oldham access to their completed

investigation report and Oldham learned that SafeSport had interviewed Miller on

26 June 2019.




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      63.     On 26 June 2019, Miller made the following statements to the

SafeSport investigator:

              a. Miller first heard of SafeSport’s Abashidze investigation when Glon

                 called him in 2018 upon returning from an international tournament;

              b. Miller said Glon believed Oldham was trying to discredit Penn State

                 to improve her chances of getting a job at Penn State or UNC;

              c. Miller said he believed Oldham was involved in UNC rescinding

                 Webb’s offer of employment;

              d. Miller said he believed Oldham was the whistleblower because

                 Cunningham had implied the whistleblower was a UNC alumnus;

              e. Miller said Cunningham and Gallo had concerns that Oldham was

                 “untrustworthy” due to their belief that she provided the

                 whistleblower information;

              f. Miller said that after Cunningham received the whistleblower

                 information, Cunningham and/or Gallo said they would not consider

                 Oldham for any employment in the UNC athletic department;

              g. Miller said Oldham’s assault and presumed whistleblowing

                 ‘“probably did’ have an impact on Oldham not getting the job” in

                 September 2018; and




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              h. Miller’s working relationship with Oldham became strained because

                 he didn’t believe her assault claim.

      64.     Miller, a male UNC employee, was not retaliated against by UNC and

did not suffer any adverse employment action as a result of participating in the

SafeSport investigation and making the above statements.



Oldham’s Efforts to Seek Redress

      65.     On 15 September 2021, Oldham complained to UNC’s Equal

Opportunity and Compliance (“EOC”) office of possible violations of UNC’s anti-

discrimination, anti-retaliation, and whistleblower policies by Cunningham, Gallo,

and Miller.

      66.     On 16 September 2021, Oldham complained to SafeSport of potential

sex and gender discrimination and retaliation policy violations by Miller, based on

his statements in the 26 June 2019 SafeSport interview.

      67.     On 18 October 2021, Oldham participated in a 2-hour interview with

UNC EOC investigators about her complaint.

      68.     On 5 April 2022, Oldham received a “Notice of Right to Sue” letter

from the United States Equal Employment Opportunity Commission related to her

claims of sex discrimination and retaliation by UNC.




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Injuries to Plaintiff Oldham from Defendants’ Course of Conduct

      69.     The SafeSport investigations of Abashidze and Glon prompted

Abashidze and Glon to spread false and damaging rumors about Oldham to Miller

and others in the national fencing community.

      70.     Miller shared the false and damaging rumors about Oldham with Gallo,

Cunningham, and others in the local and national fencing community.

      71.     The negative impact of those false and damaging rumors on Oldham’s

well-being and reputation in the fencing community was magnified when Miller

falsely told others he believed Oldham provided the information to Cunningham that

led to Webb not being hired.

      72.     Oldham has been subjected to acts of harassment and retaliation via

email, on social media, and in person at regional, national, and international fencing

competitions, and at other official fencing events and social gatherings.

      73.     Due to the failures of Cunningham, Gallo, and Miller to comply with

UNC’s anti-discrimination and anti-retaliation policies and processes, their

obstruction of UNC’s ability to respond to the report about Webb in a timely and

meaningful manner, and their untrue and defamatory statements about her, Oldham:

              a. Has been subjected to a hostile environment in UNC programs and

                 activities, to wit, fencing programs and events at which Miller

                 and/or Webb’s supporters, friends and family participate;



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  b. Has been falsely accused of maliciously causing Webb to lose the

     head coach job opportunity at UNC;

  c. Reduced her attendance at national- and international-level

     tournaments, as well as at local fencing activities, workshops, and

     collegiate recruitment events due to her apprehension of

     encountering Glon, Abashidze, Miller, Webb, or those they have

     influenced with false statements about her to the detriment of her

     business, family, and wellbeing;

  d. Suffered from a lack of concentration and a decreased ability to

     perform work tasks due to the enormous distraction caused by these

     circumstances;

  e. Suffered stress due to managing the anxiety these events have

     caused her husband and children, who are also active in the sport of

     fencing, to experience;

  f. Suffered feelings of depression, despair, fear, humiliation, and loss

     of professional confidence, as well as feelings of intense grief at the

     loss of friendships, and feelings of betrayal by former friends,

     teammates, colleagues, professional peers, and her former coach and

     mentor, Defendant Miller.




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      74.     Due to the lofty professional stature of each defendant and their

deliberate failure to comply with the federal Title IX institutional non-retaliation law

and with UNC’s whistleblower non-retaliation policies, Defendants were able to

pursue their retaliatory campaign against Oldham unencumbered by any university

oversight, fostering the hostile environment at UNC and elsewhere that plagues

Oldham to this day.

      75.     Oldham has suffered, and continues to suffer injuries to her reputation,

her livelihood, her career potential, and her psychological well-being.

      76.     Oldham has been subjected to a hostile environment for both herself

and her students in relation to UNC’s fencing program, events, and activities,

effectively excluding her from fencing and alumni events hosted by UNC, a frequent

host of fencing tournaments, workshops, and recruitment opportunities for the

prospective NCAA Division I student-athletes she coaches at her private club.

      77.     As a result of the hostile environment Defendants created for Oldham

in UNC programs and benefits, she has diminished employment prospects and has

lost her previously unencumbered access to competitive fencing events and

professional development opportunities.

      78.     Oldham has spent considerable time, effort, and resources to navigate

these circumstances to protect herself, her students and paying club members, and

her club’s reputation from anticipated retaliation, in that she reasonably fears UNC,



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and other NCAA fencing programs headed by friends of the Penn State and UNC

coaches will not recruit or offer scholarships to her student-athletes, thus reducing

the professional appeal of her fencing club to those athletes and their families.

      79.     Defendants’ collective actions have effectively excluded Oldham from,

denied her the benefits of, and subjected her to discrimination in UNC programs,

events, and activities that she had previously participated in, benefitted from, and

enjoyed as a UNC fencing team alumnus and UNC graduate.



                                     COUNT I
                Violation of Title IX (Discrimination/Retaliation)
                              20 U.S.C. § 1681, et seq.
                      (v. UNC; Cunningham, as Agent for UNC;
               Gallo, as Agent for UNC; and Miller as Agent for UNC)

      80.     All Paragraphs of this pleading are incorporated herein by reference.

      81.     Title IX prohibits discrimination on the basis of sex in a school’s

educational programs or activities, which include all of the school’s operations. 20

U.S.C. §§ 1681(a), 1687.

      82.     UNC receives federal grant funding and/or has students who receive

federal student financial aid, and thereby is a recipient of federal funds and must

comply with Title IX.




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          83.     A victim of discrimination based on her sex has a private right of action

under Title IX against the offending school for monetary damages and equitable

relief.

          84.     UNC, Cunningham, Gallo and Miller discriminated against Oldham

when they capriciously decided the head coach position would only be filled by a

“male UNC fencing alumnus.”

          85.     Title IX includes an implied right of action protecting those who are

retaliated against for reporting sexual discrimination. Jackson v. Birmingham Bd. of

Educ, 544 U.S. 167, 183-84 (2005).

          86.     Discrimination under Title IX occurs “when a funding recipient

retaliates against a person because [s]he complains of sex discrimination, this

constitutes intentional ‘discrimination’ ‘on the basis of sex,’ in violation of Title IX.”

Jackson v. Birmingham Bd. of Educ, 544 U.S. 167, 174 (2005).

          87.     Retaliation under Title IX occurs “when a funding recipient retaliates

against a person because [s]he complains of sex discrimination, this constitutes

intentional ‘discrimination’ ‘on the basis of sex,’ in violation of Title IX.” Jackson,

544 U.S. 167, 174 (2005).

          88.     A prima facie retaliation claim must show (1) engagement in a

protected activity; (2) an adverse action; and (3) a causal connection between the

protected activity and the adverse action. See Coleman v. Md. Court of Appeals, 626



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F.3d 187, 190 (4th Cir. 2010) (applying this retaliation framework to Title VII

claims), Davis v. Univ. of N.C. at Greensboro (M.D.N.C. 2020)

      89.     Oldham was subjected to acts of retaliation and discrimination on the

basis of her sex by Cunningham, Gallo, and Miller while they were in the furtherance

of their UNC employment duties in 2018.

      90.     Miller engaged in retaliatory acts against Oldham for filing a sexual

assault claim against Abashidze in 2018 when he initially told Cunningham and

Gallo about his disbelief in her claim.

      91.     Defendants retaliated against Oldham in the UNC hiring process

between May and September 2018, when they discussed Glon and Miller’s disbelief

in Oldham’s sexual assault claim and capriciously concluded that Oldham’s

engagement in the protected activities of participating in the SafeSport and Penn

State sexual assault investigations reflected poorly on her trustworthiness as a

potential UNC employee.

      92.     UNC, Cunningham, and Gallo, retaliated against Oldham in August

2018 when they discussed their belief that she engaged in the protected activity of

providing whistleblower information to UNC and capriciously concluded that such

activity reflected poorly on her trustworthiness as a potential UNC athletic

department employee.




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      93.     UNC, Cunningham, Gallo, and/or Miller concealed the whistleblower

information from the UNC EOC office, contrary to federal law and UNC policies,

and thereafter retaliated against Oldham by using their belief that she had engaged

in this protected activity against her in their hiring discussions and decisions.

      94.     UNC, Cunningham and Gallo discriminated and retaliated against

Oldham when Cunningham and Gallo disclosed to Miller that Oldham would not be

considered for future employment in the UNC athletic department, thereby

blackballing Oldham from employment in the UNC athletic department in order to

avert negative publicity for UNC, additional public scorn for the UNC athletics

department under Cunningham’s watch, and other harmful professional and personal

consequences for Cunningham, Gallo, and/or UNC.

      95.     Defendants discriminated and retaliated against Oldham for her

participation in protected activities, based on her sex, and on female gender

stereotypes, and grounded in a female gender bias that a female who reports being

sexually assaulted or reports the questionable actions of a male employee will be

untrustworthy or pose a threat to them in the future, a female gender bias formed by

and viewed through the lens of their collective male privilege.

      96.     Defendants engaged in a series of concerted actions and inactions that

concluded with Oldham being barred from consideration for UNC employment




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based on Defendants’ perceptions of her as a sexual assault victim and a UNC

whistleblower who represented a threat to the UNC fencing team’s male status quo.

      97.     Defendants took advantage of the extraordinary imbalance of power

and privilege between Defendants and Oldham to retaliate against, defame, shame

and otherwise discriminate against Oldham based on her status as a female sexual

assault victim to her great detriment, contrary to UNC policies and federal law.

      98.     Defendants’ decisions not to report the whistleblower information,

which they had attributed to Oldham, to UNC’s EOC office, as each had a duty to

do, were willfully erroneous and contrary to UNC policy and federal law – and were

transparent attempts to avoid negative professional consequences for all Defendants

and preserve the status quo at Oldham’s expense.

      99.     In a Title IX retaliation claim, a Title IX plaintiff ‘will have to prove

that the [funding recipient] retaliated against [her] because [she] complained of sex

discrimination’) ...” Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 184, 125

S.Ct. 1497, 161 L.Ed.2d 361 (2005). See Sheppard v. Visitors of Va. State Univ.,

993 F.3d 230 (4th Cir. 2021)

      100. Title IX, which “prohibits sex discrimination by recipients of federal

education funding” is a “broadly written general prohibition on discrimination.”

Jackson, 544 U.S. at 173, 175, 125 S.Ct. 1497. The question in Jackson was whether

Title IX's implied private right of action encompasses claims of retaliation. The



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Court held that it did, relying on its “repeated holdings construing ‘discrimination’

under Title IX broadly,” Congress’s awareness of precedent issued shortly before

Title IX’s passage, the absence of language limiting the statute to “discrimination on

the basis of such individual's sex,” and Congress’s purposes in enacting the statute.

Jackson, 544 U.S. at 173–181, 125 S.Ct. 1497, Wilcox v. Lyons, 970 F.3d 452 (4th

Cir. 2020).

      101. “20 U.S.C. § 1681(a) is enforceable through an implied private right of

action.” Cannon v. Univ. of Chicago, 441 U.S. 677, 703, 99 S.Ct. 1946, 60 L.Ed.2d

560 (1979). Sheppard v. Visitors of Va. State Univ., 993 F.3d 230 (4th Cir. 2021)

      102. “That language — “on the basis of sex” — is significant. While

admittedly not yet addressed in the context of a Title IX school proceeding, the

Supreme Court and our Circuit have held that the same or similar language requires

‘but-for’ causation.” See Bostock v. Clayton Cnty., Ga. , ––– U.S. ––––, 140 S. Ct.

1731 1739, 207 L.Ed.2d 218 (2020) (... Sheppard v. Visitors of Va. State Univ., 993

F.3d 230 (4th Cir. 2021)).



                                    COUNT II
              Violation of Title VII (Discrimination & Retaliation)
                           42 U.S.C. § 2000e-3(a) et seq.
                     (v. UNC; Cunningham, as Agent for UNC;
              Gallo, as Agent for UNC; and Miller as Agent for UNC)

      103. All Paragraphs of this pleading are incorporated herein by reference.


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      104. Title VII, 42 U.S.C. § 2000e-3(a), states “[i]t shall be an unlawful

employment practice for an employer to discriminate against any of his employees

... because [the employee] has opposed any practice made an unlawful employment

practice by this subchapter ....” Wilcox v. Lyons, 970 F.3d 452 (4th Cir. 2020).

      105. “To establish a prima facie case of retaliation under Title VII, a plaintiff

must prove: (1) that she engaged in a protected activity, which includes complaining

to her superior about sex discrimination or harassment; (2) that her employer took

an adverse action against her; and (3) that there was “a causal link between the two

events.”” Boyer-Liberto v. Fontainebleau Corp., 786 F.3d 264, 281 (4th Cir. 2015)

(internal quotation marks omitted).

      106. The necessary causal link is between the employee's complaint and the

adverse action, not between her sex and the adverse action. See Wetzel v. Glen St.

Andrew Living Cmty., LLC , 901 F.3d 856, 868 (7th Cir. 2018) (“[A]ll anti-retaliation

provisions ... provide[ ] protections not because of who people are, but because of

what they do.”). Wilcox v. Lyons, 970 F.3d 452 (4th Cir. 2020).

      107. “Although we have not drawn a bright temporal line, we have observed

that two-and-a-half months between the protected activity and the adverse action "is

sufficiently long so as to weaken significantly the inference of causation between




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the two events" in the absence of other evidence of retaliation.” King v. Rumsfeld,

328 F.3d 145, 151 n.5 (4th Cir. 2003). Wilcox v. Lyons, 970 F.3d 452 (4th Cir. 2020).

      108. “Alleged additional facts suggesting retaliation, namely Lyons's

alleged overreaction in firing Wilcox for insubordination in response to her request

for clarification about the attendance policy and time to read the letter of reprimand.

A disproportionate response to a minor workplace infraction suggests pretext and

can bolster the causation element of a plaintiff's prima facie case.” See, e.g.,

Hernandez v. Fairfax Cnty., 719 Fed. App. 184, 189–190 (4th Cir. 2018) (per

curiam), Wilcox v. Lyons, 970 F.3d 452 (4th Cir. 2020).

      109. Distinctions on the basis of sex or gender are subject to heightened

scrutiny under equal protection analysis. See Knussman v. Maryland, 272 F.3d 625,

635 (4th Cir. 2001).

      110. “Thus, this Court has recognized that the Equal Protection Clause

confers on public employees ‘a right to be free from gender discrimination that is

not substantially related to important governmental objectives.’” Beardsley v. Webb,

30 F.3d 524, 529 (4th Cir. 1994); see Davis v. Passman, 442 U.S. 228, 234–235, 99

S.Ct. 2264, 60 L.Ed.2d 846 (1979).

      111. The Supreme Court has subjected discrimination on the basis of sex to

heightened equal protection scrutiny because differences between the sexes are so




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rarely a legitimate reason to treat otherwise similarly situated people differently. See

Frontiero v. Richardson, 411 U.S. 677, 686–687, 93 S.Ct. 1764, 36 L.Ed.2d 583

(1973) (“[T]he sex characteristic frequently bears no relation to ability to perform or

contribute to society.”); Craig v. Boren, 429 U.S. 190, 198–199, 97 S.Ct. 451, 50

L.Ed.2d 397 (1976) (recognizing that “classifications by gender” have served as

“inaccurate prox[ies]” for other classifications, rooted in stereotypes and “outdated

misconceptions” about women). The Court views classifications based on sex or

gender with suspicion because of their roots in our Nation's “long and unfortunate

history of sex discrimination.” Frontiero, 411 U.S. at 684, 93 S.Ct. 1764 ; see also

Pers. Adm’r of Mass. v. Feeney, 442 U.S. 256, 273, 99 S.Ct. 2282, 60 L.Ed.2d 870

(1979) (“Classifications based upon gender, not unlike those based upon race, have

traditionally been the touchstone for pervasive and often subtle discrimination.”).

Wilcox v. Lyons, 970 F.3d 452 (4th Cir. 2020).

      112. “This is not to say that retaliation can never be evidence of sex

discrimination. For example, if a public employer retaliated against women who

filed complaints or participated in an investigation but not against men who did the

same, the women may have a cognizable Equal Protection Claim. That claim,

however, would not be for retaliation but for straightforward sex discrimination,




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because their employer was treating similarly situated employees differently on the

basis of sex. Wilcox v. Lyons, 970 F.3d 452 (4th Cir. 2020).



                                   COUNT III
                   Invasion of Privacy (Offensive Intrusion)
                         and Civil Conspiracy Damages
                       (v. UNC; Cunningham, Individually;
                   Gallo, Individually; and Miller, Individually)

      113. All Paragraphs of this pleading are incorporated herein by reference.

      114. The tort of invasion of privacy, which is defined under North Carolina

law “as the intentional intrusion ‘physically or otherwise, upon the solitude or

seclusion of another or his private affairs or concerns … [where] the intrusion would

be highly offensive to a reasonable person.'” Curry v. Schletter Inc., 2018 WL

1472485, at *4 (W.D.N.C. Mar. 26, 2018). Walton v. Villines (W.D.N.C. 2021)

      115. “A civil action for conspiracy is an action for damages resulting from

acts committed by one or more of the conspirators pursuant to the formed

conspiracy, rather than the conspiracy itself.” Burton v. Dixon, 259 N.C. 473, 476

(1963); see Shope v. Boyer, 268 N.C. 401, 405 (1966)..." LStar Dev. Grp. v. Vining

(E.D.N.C. 2021)

      116. A civil conspiracy, as a theory of liability, includes the following

elements: “(1) a conspiracy, (2) wrongful acts done by certain of the alleged




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conspirators in furtherance of that conspiracy, and (3) injury as a result of that

conspiracy.” Krawiec, 370 N.C. at 614 (quoting State ex rel. Cooper v. Ridgeway

Brands Mfg., LLC, 362 N.C. 431, 444 (2008)).

      117. “In civil conspiracy, recovery must be on the basis of sufficiently

alleged wrongful overt acts.” Shope v. Boyer, 268 N.C. 401, 405 (1966); Reid v.

Holden, 242 N.C. 408, 414-15 (1955). LStar Dev. Grp. v. Vining (E.D.N.C. 2021)

      118. “[Plaintiff's] evidence must, at least, reasonably lead to the inference

that [Defendants] positively or tacitly came to a mutual understanding to try to

accomplish a common and unlawful plan.” Id. Allen v. Bennett (M.D.N.C. 2021).

      119. Miller and Glon first conspired to retaliate against Oldham when Glon

invaded her privacy by offensive intrusion and disclosed details of her sexual assault

and their disbelief in her claim to Miller.

      120. Miller furthered the conspiracy to retaliate against, intimidate and

defame Oldham by further disclosing details of her sexual assault and his disbelief

in her claim to Cunningham and Gallo.

      121. Cunningham, Gallo, and Miller furthered the conspiracy by making

discriminatory and retaliatory comments based on Oldham’s sex, female gender

stereotypes in the sport of fencing, in UNC’s fencing program and beyond, her status

as a female who reported being sexually assaulted, and their belief in her status as a




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whistleblower who questioned the conduct of a male employee and who was

therefore deemed to be untrustworthy, all grounded in a female gender bias viewed

from the myopic lens of their collective male privilege.

      122. Defendants’ acts of deceit and chicanery were part of a conspiracy

intended to preserve the reputations and resources of Defendants, at the expense of

Oldham’s right to privacy under North Carolina law.

      123. Because UNC was aware of this conduct, enabled it, and did nothing to

stop their employees from engaging in it, specifically in their roles as UNC athletic

department personnel, Defendant UNC is also liable on a respondeat superior basis.



                                  COUNT IV
               Defamation Per Se and Civil Conspiracy Damages
                      (v. UNC; Cunningham, Individually;
                  Gallo, Individually; and Miller, Individually)

      124. All Paragraphs of this pleading are incorporated herein by reference.

      125. To recover for defamation in North Carolina, Plaintiff must allege that

Defendants “caused injury to [Plaintiff] by making false, defamatory statements of

or concerning [Plaintiff], which were published to a third person.” Craven v. COPE,

188 N.C.App. 814, 816 (2008). To constitute defamation, the alleged statement must

be “injurious to the reputation of the plaintiffs.” Tyson v. L'Eggs Prods., Inc., 84




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N.C.App. 1, 12 (1987). Church Ekklasia Sozo, Inc. v. CVS Health Corp. (W.D. N.C.

2021)

        126. "North Carolina retains two distinct defamation torts: the tort of libel

encompasses written publications that include purportedly defamatory statements,

while slander refers to oral statements. Esancy v. Quinn, No. 5:05cv26, 2006 WL

322607, at *3 (W.D. N.C. Feb. 10, 2006)." Church Ekklasia Sozo, Inc. v. CVS Health

Corp. (W.D. N.C. 2021)

        127. Slander per se is a false oral communication that amounts to (1) an

accusation that the plaintiff committed a crime involving moral turpitude, (2) an

allegation that impeaches the plaintiff in his trade, business, or profession, or (3) an

imputation that the plaintiff has a loathsome disease. Barker v. Kimberly-Clark

Corp., 136 N.C.App. 455, 459 (2000). In either case, a prima facie presumption of

malice and a conclusive presumption of damage arises, obviating the need for the

plaintiff to plead and prove special damages. Id. at 460. Church Ekklasia Sozo, Inc.

v. CVS Health Corp. (W.D.N.C. 2021)

        128. While Plaintiffs are not required to set forth the allegedly defamatory

statement in their Complaint verbatim, “the words attributed to [CVS] must be

alleged ‘substantially' in haec verba, or with sufficient particularity to enable the

court to determine whether the statement was defamatory.” Mbadiwe v. Union Mem'l




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Reg'l Med. Ctr., Inc., No. 3:05CV49-MU, 2005 WL 3186949, at *4 (W.D. N.C. Nov.

28, 2005); see also Bowman, 2015 WL 4508648, at *7 (same). Specifically,

Plaintiffs must identify the time and place of each alleged defamatory statement to

comply with their pleading obligations. Orndorff v. Raley, No. 3:17-CV-00618-

GCM, 2018 WL 5284040, at *3 (W.D.N.C. Oct. 24, 2018); Church Ekklasia Sozo,

Inc. v. CVS Health Corp. (W.D.N.C. 2021)

      129. Miller and Glon conspired to retaliate against Oldham by telling

Cunningham, Gallo, and others in the national fencing community that her sexual

assault claim was not believable, even after Abashidze was found responsible and

sanctioned by SafeSport, USA Fencing and Penn State.

      130. Specifically, defendants shared, expressed, or initiated rumors and

falsehoods including the following:

            a. In May 2018, during UNC’s head coach hiring process at UNC,

               Miller told Cunningham and/or Gallo about Oldham’s sexual assault

               by Abashidze and told them that others in the fencing community

               did not believe Oldham and therefore she was not telling the truth.

            b. In August 2018, Cunningham and/or Gallo, discussed in front of or

               with Miller at UNC that Oldham’s involvement in reporting a sexual

               assault and/or complaining about inappropriate behavior of a sexual




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                nature made her an “untrustworthy” person unsuited for

                employment in any position in the UNC athletics department.

             c. Miller spoke with Ariana Klinkov, now Cornell’s head fencing

                coach, around January 2019 at the North American Cup fencing

                tournament in Charlotte, North Carolina. He spoke to her about

                Oldham’s claim of being sexually assaulted by Abashidze, and

                Miller told Klinkov that Glon had requested that Miller “see if [he]

                can do anything about Jennifer,” ostensibly to diminish her

                credibility with others or to impact the outcome of her claims with

                SafeSport and Penn State against Abashidze.

      131. Defendants have defamed Oldham by making false statements to others

in the national competitive fencing community by characterizing Webb as the victim

of the whistleblowing information received by Cunningham. Specifically,

defendants expressed or initiated defamatory statements about Oldham including the

following:

             a. On or before 29 August 2018, in Chapel Hill, North Carolina, Miller

                told his spouse, Susun Miller, that he believed Oldham provided the

                whistle blower information, which Susun Miller then obliquely

                published in a Facebook post visible to over 1,100 of the Millers’




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     followers in a post on 29 August 2018 appended to a photo meme

     stating: “Some people create their own storms and then get mad

     when it rains.” Susun Miller’s published personal statement attached

     to the photo said:

        “Wednesday rant: Folks who sabotage anything: people /
        jobs / spirit, for personal recognition and gain, then want
        to be seen as a big supporter of said ‘things’, will face
        Karma, if not a judge and jury. Beware of one with two
        faces; destroying lives as they climb. Clue: They are
        devious, and also play the role of ‘poor me’ victim. We are
        watching you in hopes some form of light transmutes you,
        and also shines on the people in your way.

  b. In mid-August 2018, at UNC, Miller and/or Gallo and/or

     Cunningham disclosed details of their interaction with Webb to Jim

     Murray, a UNC volunteer assistant coach and close friend of

     Miller’s. Murray then shared the information he received from the

     UNC staff with Don Alperstein, a USA Fencing Board of Directors

     member in January 2019 at a North American Cup (“NAC”) fencing

     event in Charlotte, North Carolina. According to Alperstein, the

     disclosure by Murray characterized the conversation with Webb as

     an unwarranted overreaction to the whistleblower information

     ostensibly received from Oldham: “They sat him in a room, asked if




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                  [Webb had] slept with an athlete and said thank you very much, and

                  that was it!”

             c. In approximately August 2018, Miller approached Peter Burchard,

                  then-President of the United States Coaching Association, and told

                  him that “Jen is fumbling with my coaching line-up.”

      132. By making these false and defamatory statements, Defendants intended

to destroy Oldham’s reputation, standing, and employment prospects at UNC and

elsewhere in the fencing community.

      133. Defendants were aware their false and defamatory statements were

being spread to others and did nothing to stop it or mitigate the damage.

      134. Defendants have thus harmed Oldham in her trade or profession, and

have otherwise subjected her to ridicule, contempt, or disgrace. Accordingly, they

are liable for defamation per se.

      135. Because UNC was aware of this conduct, enabled it, and did nothing to

stop their employees from engaging in such defamation, specifically in their roles as

UNC athletic department personnel, Defendant UNC is also liable on a respondeat

superior basis.

      136. Defendants’ actions and lack of action with regard to their defamation

of Plaintiff have caused Oldham to sustain substantial injury, damage, and loss,




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including but not limited to mental anguish; severe emotional distress; injury to

reputation; past and future economic loss; and loss of future employment prospects.



                                      COUNT V
                     Negligent Infliction of Emotional Distress
                         (v. UNC; Cunningham, Individually;
                     Gallo, Individually; and Miller, Individually)

       137. All Paragraphs of this pleading are incorporated herein by reference.

       138. To prevail on a claim for a Negligent Infliction of Emotional Distress

(“NIED”) claim in North Carolina, a Plaintiff must establish the following: (1)

Defendant negligently engaged in conduct; (2) it was reasonably foreseeable that

such conduct would cause Plaintiff severe emotional distress; and (3) the conduct

did in fact cause Plaintiff severe emotional distress. Johnson v. Scott, 528 S.E.2d

402, 404 (N.C. Ct. App. 2000) (quoting Johnson v. Ruark Obstetrics and

Gynecology Assoc., 395 S.E.2d 85, 97 (N.C. 1990)); Stephenson v. Carolina

Physicians Network Inc. (W.D.N.C. 2021)

       139. The conduct of UNC, by and through the conduct, consisting of the

discriminatory and defamatory acts and/or omissions of the individual Defendants

referenced herein, were either negligent and/or grossly negligent as related to the

Plaintiff.




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      140. The discriminatory and defamatory acts and/or omissions of the

individual Defendants referenced herein were either negligent and/or grossly

negligent as related to the Plaintiff herein.

      141. The discriminatory and defamatory acts and/or omissions of the

Defendants referenced herein were in furtherance of the financial interests of UNC

and were driven by, among other things, UNC’s financial greed and avarice.

      142. The discriminatory and defamatory acts and/or omissions of the

Defendants referenced herein arose out of a duty or duties that Defendants,

individually and collectively, had to Oldham to act in good faith, to make

employment decisions without the taint of discrimination or bias, not to retaliate

against her for engaging in protected activity, and to respect Oldham's rights under

Title IX, Title VII and North Carolina law.

      143. Because UNC was aware of this conduct, enabled it, and did nothing to

stop their employees from engaging in it, specifically in their roles as UNC athletic

department personnel, Defendant UNC is also liable on a respondeat superior basis.

      144. The discriminatory and defamatory acts and/or omissions of the

Defendants referenced herein constituted a breach of duty or duties owed to the

Plaintiff by the Defendants, individually and collectively.




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       145. It was reasonably foreseeable to the Defendants that their

discriminatory and defamatory conduct, actions, and/or omissions that constituted a

breach of the duty or duties owed to Oldham would cause her severe emotional

distress and/or damage if she learned of it.

       146. The discriminatory and defamatory conduct, acts and/or omissions of

the Defendants, individually and collectively, that constituted a breach of their duty

or duties to the Plaintiff, did in fact cause severe emotional distress and/or damage

to the Plaintiff.

       147. Plaintiff has suffered, and continues to suffer, severe emotional and

mental distress as a result of Defendants’ conduct, including but not limited to:

severe stress and anxiety, including anxiety for her own and her husband’s careers

in fencing; anxiety regarding her livelihood as a fencing club owner; additional stress

in managing the anxiety these events have caused her children to experience; loss of

sleep; lack of concentration and inability to perform work tasks, due to the enormous

distraction caused by these circumstances; feelings of intense grief and betrayal at

the loss of friendships, professional peers; feelings of depression, despair, and

humiliation.

       148. This severe emotional distress and/or damage suffered by the Plaintiff

was directly and/or proximately caused by the negligent and/or grossly negligent




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discriminatory and defamatory conduct, acts and/or omissions of Defendants and/or

each of them.

        149. The Plaintiff has been damaged as more specifically set forth herein

and, due to the manner and character of the conduct, acts and/or omissions of the

Defendants, and/or each of them, the Plaintiff is entitled to an award of punitive

damages.



                                COUNT VI
                    Negligent Supervision and Training
     (v. UNC; Cunningham, as Agent for UNC; and Gallo, as Agent for UNC)

        150. All Paragraphs of this pleading are incorporated herein by reference.

        151. “North Carolina recognizes claims of negligent training based on the

general elements of negligence. Swick v. Wilde, No. 1:10-cv-303, 2012 WL

3780350, at *30 (M.D.N.C. Aug. 31, 2012) (citing Floyd v. McGill, 575 S.E.2d 789,

793-94 (N.C. Ct. App. 2003).” See also Aleman v. City of Charlotte (W.D. N.C.

2021)

        152. To make out a claim for negligence, a plaintiff must establish: (1) the

defendant owed a duty to the plaintiff; (2) the defendant breached that duty; (3) and

the breach was an actual and proximate cause of the plaintiff’s injury. Shook v. Lynch




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& Howard, P.A., 563 S.E.2d 196, 197 (N.C. Ct. App. 2002). Aleman v. City of

Charlotte (W.D.N.C. 2021)

      153. Claims of negligent supervision and training are “grounded in active

negligence by the employer.” Nance v. Rowan-Salisbury Bd. of Ed., 336 F.Supp.3d

593, 597 (M.D. N.C. 2018) (quoting Davis v. Matroo, 2013 WL 5309662, at *5

(E.D.N.C. Sept. 19, 2013)); See also Corbett v. Perry (W.D.N.C. August 29, 2021)

      154. To establish a claim for negligent supervision or training under North

Carolina law, a plaintiff must prove: (1) the specific negligent act on which the action

is founded ... [;] (2) incompetency, by inherent unfitness or previous specific acts of

negligence, from which incompetency may be inferred; [ ] (3) either actual notice to

the master of such unfitness or bad habits, or constructive notice, by showing that

the master could have known the facts had he used ordinary care in ‘oversight and

supervision,' ...; and (4) that the injury complained of resulted from the

incompetency proved. Beard v. Town of Topsail Beach, 2021 WL 2638147, at *12

(E.D. N.C. June 25, 2021) (quoting Medlin v. Bass, 327 N.C. 587, 590-91 (1990))

(emphasis omitted). See also Corbett v. Perry (W.D.N.C. 2021)

      155. “A plaintiff has the burden to prove that the employer knew or had

reason to know of the employee's incompetency. Smith v. First Union Nat. Bank,

202 F.3d 234, 249-50 (4th Cir. 2000).” Corbett v. Perry (W.D.N.C. 2021)




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      156. Pursuant to federal law under Title IX, UNC has adopted an

institutional policy that requires it to establish procedures to train and supervise its

employees, so they comply with its policies related to public safety and sexual

misconduct, thereby creating UNC’s duty to conduct such training and supervision

with reasonable skill and care.

      157. UNC’s policy specifically requires that all Athletic Department

employees receive annual training on their responsibilities and duties under the UNC

PPDHRM and Title IX.

      158. UNC, Cunningham, and/or Gallo neglected their duty and failed to

provide adequate annual sexual misconduct policy and Title IX training to all

members of the fencing team’s coaching staff.

      159. UNC, Cunningham, Gallo and/or Miller neglected their duty and failed

to ensure that all members of the athletic department and the fencing team coaching

staff were able and willing to comply with the spirit and letter of the University’s

anti-discrimination and anti-retaliation policies and Title IX.

      160.    UNC, Cunningham and/or Gallo neglected their duty and failed to

ensure that all members of the athletic department and the fencing team's coaching

staff were complying with University policies in the PPDHRM and Title IX, even

after being confronted with Plaintiff’s reports that they were not.




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      161. Because UNC was aware of this conduct, enabled it, and did nothing to

stop their employees from engaging in it, specifically in their roles as UNC athletic

department personnel, Defendant UNC is also liable on a respondeat superior basis.

      162. Defendants’ actions and lack of action with regard to their duty under

UNC’s sexual misconduct prevention training and education policy caused Oldham

to sustain substantial injury, damage, and loss, including but not limited to mental

anguish; severe emotional distress; injury to reputation; past and future economic

loss; and loss of future employment prospects.



                                COUNT VII
                     Negligence and Gross Negligence
                          PUNITIVE DAMAGES
 (v. UNC; Cunningham, as Agent for UNC and Individually; Gallo, as Agent for
     UNC and Individually; and Miller, as Agent for UNC and Individually)
                         Joint and Several Liability

      163. All Paragraphs of this pleading are incorporated herein by reference.

      164. Defendants owed to Plaintiff the duties to keep her safe from retaliation

by Cunningham, Gallo and Miller while they were serving in their official capacities

as employees of UNC, and when they received her credible reports of sexual

harassment, sex discrimination, Title IX retaliation and Title VII employment

retaliation, to handle her claims properly and in good faith.




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       165. Defendants breached their duties of reasonable care to Plaintiff in all of

the ways set forth in this Complaint, and in additional ways to be set forth and

established at trial.

       166. The derogation of these duties by Defendants, individually and

collectively, was willful, wanton, and done with a reckless, conscious, and

intentional disregard of the rights, health, and well-being of Plaintiff.

       167. Further, Defendants, individually and collectively, knew or should have

known that their derogation of those duties was likely to result in significant injury

and harm to Oldham.

       168. Because UNC was aware of this conduct, enabled it, and did nothing to

stop their employees from engaging in it, specifically in their roles as UNC athletic

department personnel, Defendant UNC is also liable on a respondeat superior basis.

       169. As a direct and proximate result of the negligence and/or gross

negligence of Defendants, individually and collectively, Plaintiff has suffered

substantial damage for which Defendants, jointly and severally, should be required

to pay as more specifically set forth herein.

       170. Based upon the conduct of the Defendants, which was, as alleged,

willful and/or wanton, the Plaintiff is entitled to an award of punitive damages.




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      171. As alleged herein, Defendants UNC, Cunningham, Gallo, and Miller

systematically retaliated against Oldham for her participation in protected activity,

to wit, the Abashidze and Glon SafeSport and Penn State investigations, and based

on their belief that she was the UNC whistleblower.

      172. To save face and to minimize the consequences for UNC, Miller told

his associates in the male-dominated fencing world that he did not believe Oldham’s

claim about Abashidze, and thereafter spread this false narrative to Cunningham and

Gallo and others in the UNC athletics and fencing communities, whereby Miller has

been believed, on the basis of his male gender and elevated status in the fencing

community.

      173. UNC, Miller, Cunningham, and Gallo have thereby created a

continuing hostile environment for Oldham, to the detriment of her career prospects,

professional life, mental health and well-being.

      174. Oldham first became aware of Miller’s role in August 2021 when she

learned of his statements regarding Glon’s interference with her UNC application

for employment in the official report of the Glon SafeSport investigation.

      175. The harassment and hostility generated by Defendants’ acts quickly

manifested in Oldham’s professional life. When she attended fencing events, she

encountered pervasive shunning and hostility from Defendants’ friends and




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associates. She was excluded from social/networking events.            There were

repercussions for her students, and the necessity of doing what she could to protect

them caused her enormous stress and anxiety. In short, she was subjected to severe,

pervasive, and continuing humiliations and interference with her professional life,

because of Defendants’ retaliatory behavior.

      176. Moreover, after UNC, Cunningham, Gallo, and Miller were informed

of Oldham’s assault and Webb’s potential policy violations, each of them initiated

and/or enabled retaliation against Oldham in UNC’s athletic department to continue

unchecked.

      177. Having knowledge that UNC employees were creating a hostile

environment, with the result that Oldham has had to endure the near-destruction of

her fencing career, UNC is responsible on the basis of respondeat superior.

      178. As previously alleged, all Defendants and agents of UNC conspired to

allow this behavior to continue, by agreeing to ignore or disbelieve Oldham’s

complaint and to blackball her from employment at UNC in order to minimize

consequences for the University and the individual Defendants.

      179. The conspiracy by Defendants and agents of UNC to commit these

unlawful acts of discrimination and defamation has proximately caused Oldham to

sustain substantial injury, damage, and loss, including but not limited to mental




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anguish; severe emotional distress; injury to reputation; past and future economic

loss; and loss of future employment prospects.



                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiff respectfully requests judgment in her favor and

against Defendants, jointly and severally, as follows:

      180. Compensatory damages for Plaintiff's psychological and emotional

distress and damages, loss of standing in her professional community, damage to her

business, career, and reputation, and her out-of-pocket expenses incurred in response

to these circumstances. These damages arise under the Title IX and Title VII claims,

as well as the separate causes of action which stem from state law which the Plaintiff

prays the Court allow to be heard under its pendent jurisdiction;

      181. Punitive damages;

      182. Injunctive relief requiring Defendant UNC to take effective steps to

eliminate discrimination and retaliation in its programs and activities for all parties

involved, including applicants for employment; to appropriately respond according

to established policies to all reported conduct that may constitute sexual harassment,

discrimination or retaliation according to established policies; to timely investigate

reported conduct that may constitute sexual harassment according to established




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policies; to mitigate the effects of any hostile environment that may arise from sexual

harassment or discrimination according to federal law and regardless of

complainant’s relationship with the University;

      183. Interest on the damages she is awarded;

      184. Costs; and

      185. Reasonable attorney fees pursuant to 42 U.S.C. § 1988.

      186. Plaintiff further requests that all issues complained of herein be tried

by a jury.

      Respectfully submitted and filed this the 5th day of July, 2022.


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                         CERTIFICATE OF SERVICE

     I certify that on 5 July 2022, I caused a true and correct copy of the foregoing

Complaint to be served upon all parties and counsel of record via the Court’s

ECF/CM system.

                                                   /s/ Kerstin W Sutton

                                                   Kerstin Walker Sutton, Esq.




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